                                                                                                                FILED
                                                                                                         CHARLOfiE, NC

                                                                     APR 2 5 2018
                           IN THE T'NITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF NORTH CAROLINA US DISTRICT COURT
                                    CHARLOTTE DIVISION          WESTERN DISTRICT OF NC


                                       DOCKET NO.: 3 : I 7cr306-FDW

I.'NITED STATES OF AMERICA                                      )
                                                                )           CONSENT ORDER AND
        v.                                                      )        ruDGMENT OF FOMEITURE
                                                                )          PENDING RULE 32.2(c)(2)
(2) BOB SCOrr CHAVIS                                            )


        BASED UPON the Defendant's plea of guilty and finding that there is a nexus between
the property listed below and the offense(s) to which the Defendant has pled guilty and that the
Defendant (or any combination of Defendants in this case) has or had a possessory interest or other
legal interest in the propertyr,IT IS HEREBY ORDERED TIIAT:

        1. The followingproperty is forfeitedto the United States pursuantto 21 U.S.C. $
853, provided, however, that forfeiture of specific assets is subject to any and all third party
petitions under 21 U.S.C. $ 853(n), pending final adjudication herein:

        One Taurus Intl. PT140 Pro. .40 caliber handgun, serial number SBM36821, seized
        November 14,2Al7 during the investigation;

        One North American Arms,.22 caliber revolver, serial number E342528, seized on or about
        November 14,2017 during the investigation;

        One Sears Roebuck & Co., .22 calitler rifle, serial number 273528110, seized on or about
        November 14,2017 during the investigation;

         One Savage Arms Corp.,410 gauge bolt action shotgun, serial number A260657, seized on or
         about November 14,2017 during the investigation;

         Two Keystone Sporting Arms, Crickett .22 ciliber rifles, serial numbers 377700 and 736516,
         seized on or about November 14,2017 during the investigation;

         One Norinco SKS 7.62 caliber rifle, serial number 240109768, seized on or about November
         14,2017 during the investigation;

         One Sporting Arms Snake Charmer II, .410 caliber shotgun, serial number 46895 seized on
         or about November 14,2017 during the investigation; and

         Assorted ammunition seized on or about Novemtler 14,2017 during the investigation.


t In the event that any firearms are subject to lbrfeihrre pursuant to this Consent Order, defendant's consent to
forfeifure herein does not constitute a waiver of any objections to sentencing factors, including any weapon
enhancement that the Govemment may contend are applicable.




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        2.      The United States Marshals Service, the investigative agency, andlor the agency
contractor is authorized to take possession and maintain custody of the above specific asset(s).

        3.     If and to the extent required by Fed. R. Crim. P.32.2(b)(6), 2l U.S.C. $ 853(n),
and/or other applicable law, the United States shall publish notice and provide direct written notice
of forfeiture.

        4.      Any person, other than the Defendant, asserting any legal interest in the property
may, within thirty days of the publication of notice or the receipt of notice, whichever is earlier,
petition the court for a hearing to adjudicate the validity of the alleged interest.

        5.      Pursuant to Fed. R. Crim. P.32.2(b)(3), upon entry of this order, the United States
Attorney's Office is authorized to conduct any discovery needed to identifli, locate, or dispose of
the property, including depositions, interrogatories, and request for production of documents, and
to issue subpoenas pursuant to Fed. R. Civ. P. 45.

        6. As to any specific assets, following the Court's disposition of all timely petitions,
a final order of forfeiture shall be entered. If no third party files a timely petition, this order shall
become the final order of forfeiture, as provided by Fed. R. Crim. P. 32.2(c)(2), and the United
States shall have clear title to the property, and shall dispose of the property according to law.

         The parties stipulate and agree that the aforementioned asset(s) constitute property derived
from or traceable to proceeds of Defendant's crime(s) herein or property used in any manner to
facilitate the commission of such offense(s) and are therefore subject to forfeiture pursuant to 2l
U.S.C. $ 853. The Defendant hereby waives the requirements of Fed. R. Crim. P.32.2 and 43(a)
regarding notice of the forfeiture in the charging insffument, announcement of the forfeiture at
sentencing, and incorporation of the forfeiture in the judgment against Defendant. If the Defendant
has previously submitted a claim in response to an administrative forfeiture proceeding regarding
any of this property, Defendant hereby withdraws that claim. If Defendant has not previously
submitted such a claim, Defendant hereby waives all right to do so. As to any firearms listed above
and./or in the charging instrument, Defendant consents to destruction by federal, state, or local law
enforcement authorities upon such legal process as they, in their sole discretion deem to legally
sufficient, and waives any and all right to further notice of such process or such destruction.


R. ANDREW MURRAY
UNITED STATES ATTORNEY



WILLIAM T. BOZIN                                            B SCOTT CHAVI
Assistant United States Attomey                         Defendant




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                                                      hM
                                                  MARCOS ROBERTS, ESQ.
                                                  Attorney for Defendant




Signed this the 25th day of April, 2018.




                                             UNITEDSTATES MAGI-5 Ie-AT E        JUDGE




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